          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                            1:08CR40

UNITED STATES OF AMERICA,          )
                                   )
Vs.                                )                        ORDER
                                   )
EDWARD BLAINE MINTZ.               )
__________________________________ )

      THIS MATTER is before the court upon defendant’s Motion to Strike Alias.

While defendant has argued that the inclusion of the alleged alias “Edward Blain

Mintz.” is “extremely prejudicial,” the precise prejudice is not readily apparent from

either defendant’s brief or the face of the Indictment. Further, defendant has cited no

case law which would require striking such alias. In the Fourth Circuit, it has long

been held that

      If the Government intends to introduce evidence of an alias and the use
      of that alias is necessary to identify the defendant in connection with the
      acts charged in the indictment, the inclusion of the alias in the
      indictment is both relevant and permissible, and a pretrial motion to
      strike should not be granted.

United States v. Clark, 541 F.2d 1016, 1018 (4th Cir. 1976). From the face of the

Indictment, the Grand Jury’s inclusion of an alias that supplies a variant of the

defendant’s given name, as opposed to a “street” name, provides this court with an

inference that inclusion of the alias is for the proper purpose of identifying the

                                          -1-


       Case 1:08-cr-00040-MR         Document 31        Filed 04/30/08      Page 1 of 3
defendant in connection with the acts charged. The motion will be denied. Such

denial is without prejudice as to defendant making any at trial motion concerning the

use of such alias during trial or any limiting instruction. See United States v. Ali,1996

WL 423058, *3 (4th Cir. 1996)( “Since the aliases were material to the contested issue of

ownership or possession of the car (and gun), the court did not err in denying Ali's

motion to strike them”)1; United States v. Robinson, 2007 WL 790013, *4 (M.D.Pa.

2007)( “if the United States fails to offer proof relating to the aliases that have been

listed and which the United States contends are relevant and necessary to prosecute

the charges against Defendants, the motions may be renewed and, if appropriate, the

aliases struck, and an appropriate precautionary instruction given to the jury.”)

      Finally, counsel for defendant is advised that this is the second motion of this

variety that he has filed in as many years, and that in neither case did counsel cite any

authority or attempt to explain how the use of a given name variant is “extremely

prejudicial.” Counsel should carefully consider the propriety of such a filing in the

future and is instructed to cite all authority which would support counsel’s position.




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             Due to the limits of ECF, copies of such unpublished opinions are
placed in the electronic record through reference to the Westlaw citation.
                                           -2-


          Case 1:08-cr-00040-MR    Document 31     Filed 04/30/08    Page 2 of 3
                              Signed: April 30, 2008




                              -3-


Case 1:08-cr-00040-MR   Document 31   Filed 04/30/08   Page 3 of 3
